Case 2:18-cv-06105-GW-AS Document 231-3 Filed 08/26/21 Page 1 of 23 Page ID #:7966




            EXHIBIT A
          Case 2:18-cv-06105-GW-AS Document 231-3 Filed 08/26/21 Page 2 of 23 Page ID #:7967
                                               STATE OF CALIFORNIA
                                      DEPARTMENT OF INDUSTRIAL RELATIONS
                                   DIVISION OF LABOR STANDARDS ENFORCEMENT

                                           CERTIFICATION OF SERVICE BY MAIL
                                            (C.C.P. 1013A) OR CERTIFIED MAIL

          I,     Kerry T,ewis       , do hereby certify that I am a resident of or employed in the County
          of     Sacramento        , over 18 years of age, not a party to the within action, and that I am
          employed at and my business address is:
                                  LABOR COMMISSIONER, STATE OF CALIFORNIA
                                            2031 Howe Avenue, Suite 100
                                               Sacramento, CA 95825
                                      Tel: (916) 263-2841 Fax: (916) 263-2853

      I am readily familiar with the business practice of my place of business for collection and processing
      of correspondence for mailing with the United States Postal Service. Correspondence so collected
      and processed is deposited with the United States Postal Service that same day in the ordinary course
      of business.
               On -~I......u......n.....
                                    e_._l_,_3.,...,2...,Q.....1.....6,....__ at my place of business, a copy of the following document(s):
                                                       Oeder, Decision or Award

               was(were) placed for deposit in the United States Postal Service in a sealed envelope, by
               first class mail                    , with postage fully prepaid, addressed to:
  NOTICE TO:    Richard Matulia, an individual
                1751 Aviation Boulevard, Suite 200
                Lincoln, CA 95648




                and that envelope was placed for collection and mailing on that date following ordinary
                business practices.

                               I certify under penalty ofperjury tltat the foregoing is true and correct.



               Executed on:               Tnne 13 2016                 at               ac......r.....am
                                                                             _ ____._.S.....           .........e'"'"ot~a~--,   California
                                                 '


      STATE CASE NUMBER: 08-76615 A CM
                                                                                                                        Kerry Lewis



DLSE 544/DEF. # 1 (3/06)                            CERTIFICATION OF MAILING                                                                 L.C. 98
                                                                        EXHIBIT A
                                                                                 -2-
           Case 2:18-cv-06105-GW-AS Document 231-3 Filed 08/26/21 Page 3 of 23 Page ID #:7968
    LABOR COMMISSIONER, STATE OF CALIFORNIA                                            For Court Use Only:
    Department of Industrial Relations
    Division of Labor Standards Enforcement
    2031 Howe Avenue, Suite 100
    Sacramento, CA 95825
    Tel: (916) 263-2841 Fax: (916) 263-2853
    Plaintiff:
                    David Winter
                                                                                       Court Number


    Defendant:      H1GHMARK DIGITAL, INC.,    a California corporation, GRAND MARK
                    SOLUTIONS, INC.,   a California corporation, each jointly and
                    severally liable


    State Case Number              ORDER, DECISION OR AWARD OF THE LABOR COMMISSIONER
    08 - 76615 CM
   I. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
     DATE: May 27, 2016                           0 CONTINUED TO:
     CITY: 2031 Howe Avenue, Suite 100, Sacramento, CA 95825
   2. IT IS ORDERED THAT: Plaintiff recover from Defendant.
      $       90,488.47 for wages (with lawful deductions)
      $            0.00 for liquidated damages pursuant to Labor Code Section 1194.2
      $       92,337.50 Reimbursable business expenses
       $          16,178.86 for interest pursuant to Labor Code Section(s) 98. l(c), 1194.2 and/or 2802(b),
       $          19,082.40 for additional wages accrued pursuant to Labor Code Section 203 as a penalty
                               and that same shall not be subject to payroll or other deductions.
       $                0.00 for penalties pursuant to Labor Code Section 203.1 which shall not be subject to payroll or other deductions.
       $           1,500.00 other (specify): for penalties pursuant to Labor Code Sections 226(f) and I I 98.5(k).
       $         219,587.23 TOTAL AMOUNT OF A WARD
  3. The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached hereto and
  incorporated herein by reference.
  4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall become final and
  enforceable as a judgment in a court of law unless either or both parties exercise their right to appeal to the appropriate court* within
  ten ( I 0) days of service of this document. Service of this document can be accomplished either by fast class mail or by personal
  delivery and is effective upon mailing or at the time of personal delivery. If service on the parties is made by mail, the ten ( I 0) day
  appeal period shall be extended by five (5) days. For parties served outside of California, the period of extension is longer (See Code
  of Civil Procedure Section 1013). In case of appeal, the necessary filing fee must be paid by the appellant and appellant must,
  immediately upon filing an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. !fan
  appeal is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate court, but
  the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the State of California. Labor Code
  Section 98.2(c) provides that if the party seeking review by filing an appeal to the court is unsuccessful in such appeal, the court shall
  determine the costs and reasonable attorney's fees incurred by the other party to the appeal and assess such amount as a cost upon the
  party filing the appeal. An employee is successful if the court awards an amount greater than zero.
  PLEASE TAKE NOTICE: Labor Code Section 98.2(b) requires that as a condition to filing an appeal of an Order, Decision or
  Award of the Labor Commissioner, the employer shall first post a bond or undertaking with the court in the amount of the ODA; and
  the employer shall provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
  Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond. While this claim
  is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of any changes in your business or
  personal address within IO days after any change occurs.                                 iSSIONER, STATE F CALIFORNIA
 * Appropriate Court:
   Placer County Superior Court
   PO Box 619072
   Roseville, CA 95661-9072
                                                                                                                  HEARING OFFICER
   DATED: June 6 2016                                          EXHIBIT A
DLSE 535 (Rev. 1/12)
                         '
                                        ORDER, DECISION OR A WARD OF THE LABOR COMMISSIONER                                          L.C. 98
                                                                      -3-
           Case 2:18-cv-06105-GW-AS Document 231-3 Filed 08/26/21 Page 4 of 23 Page ID #:7969
    LABOR COMMISSIONER, STATE OF CALIFORNIA                                                    For Court Use Only:
    Department of Industrial Relations
    Division of Labor Standards Enforcement
    2031 Howe Avenue, Suite 100
    Sacramento, CA 95825
    Tel: (916) 263-2841 Fax: (916) 263-2853
    Plaintiff:
                   David Winter
                                                                                               Court Number


    Defendant:     RICHARD MATULIA, an individual




    State Case Number             ORDER, DECISION OR A '1VARD OF THE LABOR COMMISSIONER
     08 - 76615 A CM
   I. The above-entitled matter came on for hearing before the Labor Commissioner of the State of California as follows:
     DATE: May 27, 2016                          0 CONTINUED TO:
     CITY: 2031 Howe Avenue, Suite 100, Sacramento, CA 95825
   2. IT IS ORDERED THAT: Plaintiff take nothing by virtue of his/her complaint.
      $           0.00 for wages (with lawful deductions)
      $           0.00 for liquidated damages pursuant to Labor Code Section I I 94.2
      $           0.00 Reimbursable business expenses
       $               0.00   for interest pursuant to Labor Code Section(s) 98. I (c), 1194.2 and/or 2802(b),
       $               0.00   for additional wages accrued pursuant to Labor Code Section 203 as a penalty
                              and that same shall not be subject to payroll or other deductions.
       $    _____0_._0_0      for penalties pursuant to Labor Code Section 203.1 which shall not be subject to payroll or other deductions.
       $         0.00         other (specify): for penalties pursuant to Labor Code Sections 226(t) and 1198.5(k).
          ------
       $              0.00 TOTAL AMOUNT OF A WARD
  3.
          - -   -  - -  -
        The herein Order, Decision or Award is based upon the Findings of Fact, Legal Analysis and Conclusions attached hereto and
  incorporated herein by reference.
  4. The parties herein are notified and advised that this Order, Decision or Award of the Labor Commissioner shall become final and
  enforceable as a judgment in a court of law unless either or both parties exercise their right to appeal to the appropriate court* within
  ten ( 10) days of service of this document. Service of this document can be accomplished either by first class mail or by personal
  delivery and is effective upon mailing or at the time of personal delivery. If service on the parties is made by mail, the ten ( 10) day
  appeal period shall be extended by five (5) days. For parties served outside of California, the period of extension is longer (See Code
  of Civil Procedure Section 1013). In case of appeal, the necessary filing fee must be paid by the appellant and appellant must,
  immediately upon filing an appeal with the appropriate court, serve a copy of the appeal request upon the Labor Commissioner. If an
  appeal is filed by a corporation, a non-lawyer agent of the corporation may file the Notice of Appeal with the appropriate court, but
  the corporation must be represented in any subsequent trial by an attorney, licensed to practice in the State of California. Labor Code
  Section 98.2(c) provides that if the party seeking review by filing an appeal to the court is unsuccessful in such appeal, the court shall
  determine the costs and reasonable attorney's fees incurred by the other party to the appeal and assess such amount as a cost upon the
  party filing the appeal. An employee is successful if the court awards an amount greater than zero.
  PLEASE TAKE NOTICE: Labor Code Section 98.2(b) requires that as a condition to filing an appeal of an Order, Decision or
  Award of the Labor Commissioner, the employer shall first post a bond or undertaking with the court in the amount of the ODA; and
  the employer shall provide written notice to the other parties and the Labor Commissioner of the posting of the undertaking. Labor
  Code Section 98.2(b) also requires the undertaking contain other specific conditions for distribution under the bond. While this claim
  is before the Labor Commissioner, you are required to notify the Labor Commissioner in writing of any changes in your business or
  personal address within 10 days after any change occurs.               LABOR COMMISSIONER, STA                  OF CALIFORNIA
 * Appropriate Court:
   Placer County Superior Court
   PO Box 619072
   Roseville, CA 95661-9072                                                  ...._,.,__M"fi"                         HEARING OFFICER

   DATED: June 6, 2016                                         EXHIBIT A
DLSE 535 (Rev 1/ 12)                   ORDER. DECISION OR AWARD OF THE LABOR COMMISS IONER                                           L.C. 98
                                                                     -4-
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                                   BEFORE THE LABOR COMMISSIONER
                                     OF THE STATE OF CALIFORNIA
   2

   3   DAVID WINTER                                     )
                                                        )
   4
                                    Plaintiff,          )      CASE NO. 08-76615 CM
   5                                                    )
       vs.                                              )
   6
                                                        )      ORDER, DECISION OR A WARD
   7   HIGHMARK DIGITAL, INC., a California             )      OF THE LABOR COMMISSIONER
       corporation; GRAND MARK SOLUTIONS,               )
   8
       INC, a California corporation; RICHARD           )
   9   MATULIA, an individual, each jointly and         )
       severally liable                                 )
  10
                                  Defendants.           )
  11   _________ _______                                )

  12
                                                 BACKGROUND
  13
             Plaintiff filed an initial claim with the Labor Commissioner's office on November 9
  14
       2015. The Complaint alleges that Plaintiff is owed:
  15
             1. Wages earned from January 1, 2010 to July 16, 2015 in the amount of $168,687.88;
  16
             2. Vacation wages for 64 hours earned from January 1, 2010 to July 16, 2015 at th
  17
                rate of $79.51 per hour, claiming $5,088.64;
  18
             3. Reimbursable business expenses incurred from January 1, 2010 to November 2
  19
                2015, claiming $75,621.03, plus reasonable attorney fees pursuant to Labor Cod
  20
                section 2802(c);
  21
             4. Penalties pursuant to Labor Code section 203.1 for 13 days at the rate of $636.0
  22
                per day, claiming $8,269.04;
  23
             5. Penalties pursuant to Labor Code section 203 for 30 days at the rate of $636.08 pe
  24
                day;
  25
             6. Penalties pursuant to Labor Code section 226(£) in the amount of $750.00; and
  26
             7. Penalties pursuant to Labor Code section 1198.5 in the amount of $750.00.
  27



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            A hearing was conducted in Sacramento, California, on May 27, 2016, before th
   2   undersigned hearing officer designated by the Labor Commissioner to hear this matter
   3   Plaintiff appeared and was represented by Timothy Nelson, Esq. Tammy Mendonca an
   4   Philomena Stipp were subpoenaed by Plaintiff to appear as witnesses.
   5        Highrnark Digital, Inc., a California corporation ("Highmark"), Grand Mar
   6   Solutions, Inc., a California corporation ("Grand Mark"), and Richard Matulia, a
   7   individual, were represented by Dennis Murphy, Esq. All three named Defendants ar
   s   referred to herein collectively as "Defendants."

   9        Due consideration having been given to the testimony, documentary evidence, an
  1o   arguments presented, the Labor Commissioner hereby adopts the following Order
  11   Decision or Award.

  12                                          FINDINGS OF FACT
  13        Defendant Highmark employed Plaintiff pursuant to the terms of a writte
  14   employment agreement in Placer County, California, from 2007 until July 16, 2015.
  15        Plaintiff was one of the founders of the company with his father-in-law. Plaintiff'
  16   father-in-law, Mike McElroy, was the President and Plaintiff was the Vice President. I
  17   August 2011, Plaintiff and McElroy entered into a written agreement ("Agreement"
  18   whereby Plaintiff was promoted to President and CEO. Pursuant to the Agreement
  19   Plaintiff's starting salary was $125,060.00, with a five percent increase at the start of eac
  20   calendar year. The Agreement called for an increase to $150,000.00 if Plaintiff "sold" te
  21   dealerships, or franchises. Plaintiff's records indicate that there were ten franchises sold b
  22   the end of 2012, so his claim is based on a salary of $150,000.00 starting in January of 201
  23   and increasing by five percent each year thereafter: $157,500.00 in 2014, and $165,375.00 i
  24   2015. Additionally, the Agreement provided that Plaintiff would be reimbursed fo
  25   "reasonable out-of-pocket expenses incurred w ith respect to [his] execution
  26   Company's business, including reasonable travel and entertainment expenses."

  27        III

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            Defendants argued that the Agreement was invalid because it was "secret" and th
   2   Board of Directors (the "Board") was unaware of its existence. Plaintiff was a member o
   3   the Board throughout the course of his employment. Meeting minutes from the Septembe
   4   19, 2014 Board meeting reflect that "the Company has an existing employment contrac
   5   with David Winter as President of Highmark Digital, Inc." and "the Company undertake
   6   to update its employment agreement with David Winter upon mutually agreeable term
   7   no later than the next board meeting of the Company."
   8        In September of 2014, Plaintiff and Defendants agreed that Plaintiff's compensatio
   9   would be modified in an effort to save Defendants money. Plaintiff agreed to have
  10   portion of his salary paid toward equity in Highmark. The details of the amounts tha
  11   were allotted to wages versus equity were set forth in an email between Plaintiff, Pau
  12   Bernards (Board member), Richard Shi (CFO) and John Ambruz (Board member) o
  13   September 18, 2014. Plaintiff attached a copy of the Agreement to the email. In that email
  14   Plaintiff's actual monthly salary was set forth as $13,083.00, increasing to $13,781.00 i
  15   January 2015. These monthly salaries are the equivalent of $157,000.00 and $165,375.00 pe
  16   year, respectively. The monthly salary was then broken down into the portion that woul
  17   be paid on his paycheck and the amount that would be allotted to equity in the company.
  18   This calculation was sent to Bernards, Shi, and Ambruz and none of the three registered a
  19   objection to Plaintiff's salary being reflected at these amounts. When the paycheck portio
  20   of Plaintiff's wages was due to increase pursuant to the table set forth in the September 18,
  21   2014 email, Plaintiff forwarded it to Tammy Mendonca (bookkeeper), Richard Shi, an
  22   Richard Matulia (CEO) to ensure that the amount he received on his paychec
  23   corresponded with the agreed-upon allocations. Mendonca testified that she confirmed th
  24   increase with Shi and Plaintiff was paid accordingly. Mendonca further testified that sh
  25   adjusted the equity amounts allotted to Plaintiff pursuant to the September 18, 2014 email.
  26        Plaintiff was not provided with any record of stock options. Matulia testified tha
  27   Plaintiff had stock options on the company's books, but no documentation was submitte


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       in support of this assertion and Plaintiff was given no information regarding how or whe
   2   he could exercise his options if, in fact, he has any stock options on the books.
   3        Plaintiff asserted that he was underpaid in the total amount of $90,488.47 for th
   4   period from November 9, 2011 through July 16, 2015.
   5        Plaintiff was originally the CFO of the company when it incorporated in 2007. As th
   6   CFO, Plaintiff was tasked with opening the corporate bank account and establishing th
   7   company's credit cards. Plaintiff opened two Wells Fargo credit cards and a line of credi
   s   on behalf of Highmark. Plaintiff was a personal guarantor on all of the accounts. Plaintif
   9   testified that he used the two credit cards for business expenses and those credit car
  10   statements were sent to Highmark for payment each month. Additionally, Plaintif
  11   testified that had a personal credit card ("USAA card") which he utilized only for busines
  12   purposes. Plaintiff brought the USAA card's monthly statements to Highrnark fo
  13   payment as well. Plaintiff occasionally submitted receipts for the items he purchased, bu
  14   Mendonca testified that it was often difficult to ascertain whether the charges on any of th
  15   credit cards were for business or personal expenses. Nonetheless, Highmark made partia
  16   payme_n ts on the cards each month without questioning the charges.
  17        After Plaintiff resigned on June 16, 2015, the statements for the credit cards and credi
  1s   line stopped being delivered to Highmark for reasons that neither Plaintiff nor Defendant
  19   could explain. When Mendonca attempted to get the statements sent to Highmark in orde
  20   to pay them, Wells Fargo refused to provide them because they were in Plaintiff's name.
  21   Mendonca testified that she was instructed by Matulia and the Board to stop paying any o
  22   the outstanding credit card or credit line debt in August of 2014. All of the amounts wer
  23   past due even before Defendants ceased making payments, so the creditors began t
  24   demand payment from Plaintiff. After Wells Fargo sought to recover the debt direct!
  25   from Plaintiff's personal accounts in late 2015, Plaintiff reached out to Wells Fargo to try t
  26   negotiate the amounts due in order to get them paid off. Plaintiff ultimately got the deb
  27   reduced significantly and, after taking out a second mortgage on his home in January 2016


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       paid Wells Fargo a total of $39,946.63. Additionally, Plaintiff paid off the USAA card in th
   2   total amount of $26,548.40.
   3        Defendants argued that there was no way for them to determine which of the charge
   4   were personal and which were legitimate business expenses. As such, the Board gave
   5   directive that none of the balances were to be paid without sufficient proof that they wer
   6   business-related. Mendonca conducted an audit of the various credit cards and, usin
   7   criteria established by the Board and Matulia, made an assessment of which charge
   a   appeared to be personal in nature. A few of the items that Mendonca asserted wer
   9   personal were: a charge at Jessica McClintock clothing store for $1,100.00; a down paymen
  10   for a vehicle purchased from Future Ford; and charges for repairing Plaintiff's persona
  11   vehicle. Plaintiff testified that the Jessica McClintock charge was for a shrink wra
  12   machine and pancake scale that the clothing store was selling at a good value due to stor
  13   closure. Matulia testified that the company does possess these items in its warehouse
  14   Plaintiff further testified that when his personal truck broke down while being used fo
  15   business purposes, he received approval from Paul Bertrands to purchase a new truck an
  16   the company would pay the down payment, rather than repair the other truck at greate
  17   expense. Finally, Plaintiff testified that his newly purchased truck was damaged whil
  18   towing a machine on behalf of the company. Matulia was present when the truck wa
  19   damaged and he approved Plaintiff charging the repairs to the company.
  20        Defendants' audit of the credit card transactions reveals $17,818.75 charges whic
  21   were arguably personal, including those specifically refuted by Plaintiff as persona
  22   expenses, above. Plaintiff argued that all the charges were business expenses. However
  23   Plaintiff asserted that the fact that he negotiated the balances down on all the Wells Farg
  24   accounts as well as his USAA card, reducing Defendants' potential debt from ove
  25   $88,000.00 to approximately $66,500.00 saved the companies more than $21,500.00. A
  26   such, even if those charges were arguably personal, which Plaintiff adamantly denies
  27



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     Plaintiff is not requesting reimbursement for them because that amount was written off b
 2   the bank.
 3        On three different occasions in 2013 and early 2014, Plaintiff made deposits i
 4   Defendants' bank accounts to cover payroll, expecting that the amounts would be repai
 5   shortly thereafter. The 2013 "loan" was repaid approximately one month later. However
 6   there were two deposits made by Plaintiff in March and April of 2014 in the amounts o
 7   $6,200.00 and $2,929.00, respectively, for which Plaintiff was not reimbursed. Thes
 s   amounts are not disputed by Defendants. Defendants unilaterally decided to reclassify th
 9   $6,200.00 "loan" as capital stock so that it would not be reflected in its accounts payabl

10   ledger as an outstanding debt. There was no evidence regarding the April 2014 deposi
11   and Defendants did not assert that it had been reclassified or otherwise repaid. Plaintif
12   argued that Defendants did not have the right to reclassify any portion of the monies h
13   was owed without his consent.
14        Plaintiff's 2010 employment agreement provided for 120 hours of paid vacation pe
15   calendar year. Plaintiff alleges that he is owed 64 hours of vacation that he did not tak
16   between August of 2010 and the end of his employment. Plaintiff did not provide a basi
17   for his assertions, other than to say that he had 24 unused hours in 2013 and 40 unuse
1s   hours in 2014. Plaintiff did not claim any unused hours in 2015 because he had taken all o
19   the hours he had accrued for that year. However, Defendants' records reflect that Plaintif
20   had actually used 100 hours in 2015, while only entitled to 60 hours of accrual. Plaintiff di
21   not account for this negative balance in his claim for unused vacation hours. Additionally
22   Plaintiff did not provide any breakdown of the hours he took off throughout the years
23   Plaintiff argued that Defendants should have tracked his vacation hours more effective!
24   throughout the years. Defendants argued that Plaintiff was the highest ranking individua
25   in the company and any such tracking procedures should have been implemented by him.
26        Plaintiff resigned without notice on July 16, 2015. He was mailed his final paychec
27   via certified mail on July 18, 2015, but he did not pick it up from the post office until Jul


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     24, 2015. The gross amount of the paycheck for the semi-monthly pay period wa
 2   $4,528.89. Plaintiff argues that the paycheck did not contain all earned prorated wage
 3   because his salary rate as of his resignation was $165,375.00, which is the equivalent o
 4   $6,890.00 per semi-monthly pay period. Additionally, when Plaintiff deposited the chec
 5   into his account, it was returned by the bank for insufficient funds.
 6        Defendants asserted that the bank account on which Plaintiff's check was written ha
 7   been frozen or closed because it was determined that there had been fraudulent activity o
 8   the account between the time that the check was written and Plaintiff's depositing it. Th
 9   activity in question was the result of Plaintiff's actions in attempting to make a larg
10   payment on his USAA card from an account to which he was not supposed to have access
11   When it became apparent that Defendants' accounts were "under attack," immediat
12   action was taken to reverse the attempted credit card payments and protect the account
13   from future unauthorized activity. On July 28, 2015, Plaintiff informed Matulia that th
14   check had been returned by his bank and the wages were replaced immediately.
15        On December 15, 2015, Plaintiff's attorney sent a letter to Highmark_and its attorne
16   requesting a copy of Plaintiff's personnel file and payroll records. The initial request di
17   not identify who the -attorneys were representing, but Plaintiff's identity was provided b
18   the end of December. Plaintiff's attorney ultimately received the requested information o
19   February 22, 2016. Defendants asserted that it took time to compile the personnel £il
20   because nothing had been maintained over the years due to Plaintiff's poor managemen
21   of the company. It was unclear why Defendants did not provide payroll records within th
22   21-day time frame set forth in Labor Code section 226.

23        Plaintiff's attorney submitted a declaration regarding fees Plaintiff has incurred i
24   furtherance of his claims. The declaration asserts that the Plaintiff has incurred a total o
25   $33,433.00 in attorneys' fees to date. The declaration further asserts that the efforts pu

26   forth in preparation for the hearing, as well as the time spent at the hearing, wer
27



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     primarily focused on the expenses portion of Plaintiff's claim, for an estimate of 50 percen
 2   of the attorney's time. Defendants did not object to this estimate.
 3        Plaintiff argued that Richard Matulia has individual liability for his claims pursuan
 4   to Labor Code section 558.1. Plaintiff asserted that Matulia had personal knowledge of th
 5   expenses Plaintiff incurred and Defendants' refusal to reimburse those expenses, as well a
 6   Defendants' failure to honor the August 2011 contract and the equity agreement allocatin
 7   a portion of Plaintiff's salary to stock options for a period of one year. Matulia argued tha
 a   he was only the CEO of Highmark and Grand Mark acting in his capacity as an employe
 9   and, therefore, should not have personal liability for Plaintiff's employment claims.
10        Defendants further argued that Plaintiff's Complaint extends to periods outside th
11   statute of limitations for the various claims. Additionally, Defendants asserted that
12   although the claim was originally filed on November 9, 2015, Grand Mark and Matuli
13   were not added as named defendants until the formal Complaint was signed on Februar
14   22, 2016, so the statute of limitations periods should begin on that date for those tw
15   Defendants. As part of the Labor Commissioner's process, a Notice of Claim was mailed t
16   Highmark at its address of record, which is also the address of record for Grand Mark
17   Highmark and Grand Mark were both payors of Plaintiff's wages, have the same CEO
18   and have been represented by the same attorney since the inception of the case. Matuli
19   received the original Notice of Claim and attended the conference in December 2015 wit
20   his attorney. Matulia knew that Plaintiff's claims would have been against both Highmar
21   and Grand Mark, as the two appear to be interchangeable in most respects with regard t
22   payment of wages and use of credit cards to pay business expenses. Plaintiff's paycheck
23   appear to have been paid by Highmark, but the W-2 Forms were issued from Grand Mark
24   Credit card charges on Highmark cards reflect that they were funds transfers to pay of
25   Grand Mark debts.

26       III
27


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                                           LEGAL ANALYSIS
 2          Individual Liability
 3          At the outset, it is necessary to determine whether Richard Mah1lia is individuall
 4   liable for any of Plaintiff's claims. Plaintiff argued that Matulia should be held liable for hi
 5   wage and expenses claims pursuant to Labor Code section 558.1, which provides, i
 6   relevant part:
 7
            Any employer or other person acting on behalf of an employer, who violates,
            or causes to be violated, any provision regulating minimum wages or hours
 8          and days of work in any order of the Industrial Welfare Commission, or
 9
            violates, or causes to be violated, Sections 203, 226, ... or 2802, may be held
            liable as the employer for such violation.
10            (b) For purposes of this section, the term "other person acting on behalf of
11          an employer" is limited to a natural person who is an owner, director, officer,
            or managing agent of the employer, and the term "managing agent" has the
12          same meaning as in subdivision (b) of Section 3294 of the Civil Code.
13        Labor Code section 558.1 was implemented on January 1, 2016. Because the statut
14   imposes liability on persons who did not previously have liability, it cannot be applie
15   retroactively. Plaintiff's alleged wages and expenses were incurred prior to 2016. As such
16   Labor Code section 558.1 cannot be the basis for finding individual liability.
17        Prior to Labor Code section 558.1, the issue of whether individual corporate agent
18   have liability for wages when acting within the scope of their agency was decided i
19   Martinez v. Combs (2010) 49 Cal.4th 35. The California Supreme Court in Martinez held tha
20   individual corporate agents cannot be found liable as "employers" owing wages unless th
21   facts show that they were acting outside the scope of their agency. There were no sue
22   facts present in this matter. Plaintiff provided no testimony or other evidence that Matuli
23   was in any way acting outside the scope of his agency. Accordingly, Matulia is not foun
24   individually liable for wages, expenses, or penalties awarded herein.
25        Statute of Limitations
26        The California Code of Civil Procedure establishes time limits for filing various type
27   of claims. The statute of limitations for filing a claim based on a statutory right, such a

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     expenses, is three years from the date the right to reimbursement occurred. (Code of Civ
 2   Pro. §338.) An action upon any contract, obligation or liability founded upon a
 3   instrument in writing has a four-year statute of limitations. (Code of Civ. Pro. §337.)
 4           Plaintiff's Complaint alleges wages and expenses from January of 2010. Defendant
 s   argued that a portion of this period is outside the statute of limitations because Plaintiff'
 6   claim was filed on November 9, 2015. Because the wages alleged by Plaintiff were owe
 7   pursuant to a written agreement, his claim for wages may only encompass the period fro
 s   November 9, 2011 until July 16, 2015. While reimbursement of expenses is a statutory righ
 9   pursuant to Labor Code section 2802, Plaintiff's written agreement provided fo
10   reimbursement of his expenses, extending the statute of limitations to four years. Plaintif
11   incurred the expenses alleged when he paid off Defendants' credit cards in 2015 and 2016
12   Prior to paying off Defendants' credit card debts, the expenses were incurred b
13   Defendants, not Plaintiff. As such, all of Plaintiff's claims for reimbursement of expense
14   fall within the applicable statute of limitations.

15           Defendants further argued that the statute of limitations for Grand Mark should b
16   measured based on Plaintiff's addition of the new Defendant to his Complaint o
17   February 22, 20161 • Plaintiff filed his initial claim with the Labor Commissioner o
18   November 9, 2015. It is from this date that the statute of limitations is calculated. (Se
19   Cuadra v. Millan (1998) 17 Cal.4th 855.)
20           As part of the Labor Commissioner's process, a Notice of Claim was mailed t
21   Highmark at its address of record on November 23, 2015, which is also the address o
22   record for Grand Mark. Highmark and Grand Mark were both payors of Plaintiff's wages,
23   have the same CEO, and have been represented by the same attorney since the inception o
24   the case.
25

26
     1
       Defendants' argument regarding the statute of limitations pertained to the addition of both Grand Mar
27   and Matulia. Because Matulia has been found to have no individual liability, he has not been included in thi
     statute of limitations analysis, as it is moot.

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            Although hearings held pursuant to Labor Code section 98 are not subject to th
 2   Federal Rules of Civil Procedure, a brief discussion of the federal courts' use of amende
 3   pleadings is instructive. Federal Rule 15(c)(2) provides that an amendment relates back t
 4   the date of the original complaint when the claim asserted in the amended complain
 5   "arose out of the conduct, transaction, or occurrence set forth" in the original complaint.'
 6   Rule 15(c)(3) adds two additional requirements when the amendment changes or adds
 7   new defendant. First, within the period for service of the summons and complaint, th
 a   party to be brought in by amendment must have received such notice of the institution o
 9   the action that the party will not be prejudiced in maintaining a defense on the merits
10   (FRCP 15(c)(3)(A).) Second, the new party must know or should have known that, but fo
11   a mistake concerning the identity of the proper party, the action would have been brough
12   against that party. (FRCP 15(c)(3)(B).)
13          Matulia received the original Notice of Claim and attended the conference i
14   December 2015 with his attorney. Matulia knew that Plaintiff's claims would have bee
15   against both Highmark and Grand Mark, as the two appear to be interchangeable in mos
16   respects with regard to payment of wages and use of credit cards to pay busines
17   expenses. Plaintiff's paychecks appear to have been paid by Highmark, but the W-2 Form
18   were issued from Grand Mark. Credit card charges on Highmark cards reflect that the
19   were funds transfers to pay off Grand Mark debts. Whatever the reason that Plaintiff di
20   not initially name Grand Mark as an employer, there is no doubt that the entity was awar
21   of Plaintiff's claims and that it had potential liability.
22          As such, even utilizing the Federal Rules of Civil Procedure, which are mor
23   restrictive than California procedure, it would be proper to permit Plaintiff's amendmen
24   adding Grand Mark to carry the same statute of limitations as the original claim filed ·
25   November 2015. California courts follow a far more liberal scheme of relation back
26   commonly referred to as "Doe defendant practice," with respect to amended complaint

27   that add new defendants. (See Austin v. Mass. Bonding & Ins. Co. (1961) 56 Cal.2d 596.) Tha

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     is, the original complaint may contain unnamed defendants who are subsequentl
 2   identified in amended complaints. Under California's Doe defendant practice, an amende
 3   complaint substituting an actual defendant for a fictitious one relates back to the date o
 4   the original complaint, thereby defeating the bar of the statute of limitations, provided i
 5   seeks recovery on the "same general set of facts" as alleged in the original complaint. (Se
 6   Austin, id., and Cal. Code of Civ. Pro. §474.) Plaintiff's claims against Grand Mark ar
 7   identical to those that he raised in his initial claim against Highmark. The facts an
 s   allegations did not change at all. Matulia was well aware of Plaintiff's allegations and
 9   although California civil practice does not even require that the newly added defendan
10   have any knowledge of the existence of a claim against it, Grand Mark had full knowledg
11   of the allegations.

12          The policy behind statutes of limitations is to put defendants on notice of the nee
13   to gather and preserve evidence in time to prepare a fair defense on the merits. (Se
14   Garrison v. Bd. of Dirs. of the United Water Conservation Dist. (1995) 36 Cal.App.4th 1670
15   Pasadena Hosp. Ass'n v. Superior Court (1988) 204 Cal. App. 3d 1032; Lamont v. Wolfe (1983)
16   142 Cal. App. 3d 375.) There were no additional documents, witnesses, or defense
17   required as a result of Plaintiff's addition of Grand Mark to the claim. As such, the stah1t
1s   of limitations applicable to all Defendants is the same.
19          Salary Wages

20          In California, a contract is defined by statute as "an agreement to do or not to do
21   certain thing." (Civil Code §1549.) Four essential elements of a contract are (1) partie
22   capable of contracting; (2) (mutual) consent; (3) a lawful object, and (4) a sufficient cause o
23   consideration (Civil Code §1550.)
24          In order for a binding contract to arise, there must be mutual assent between th
25   parties (Civil Code §1565) such that each must intend to enter into the contract under th
26   same terms and conditions (Civil Code §1580).
27


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          Plaintiff and the former President of Highmark entered into a valid written contract
 2   The contract set forth the terms of Plaintiff's employment as the President of the company
 3   Defendants' argument that the contract was not valid because it was "secret" is no
 4   supported by the facts provided by Plaintiff. The September 2014 Board minutes referenc
 5   an employment contract, yet Defendants did not argue that there was any other contract t
 6   which the Board would have been referring. Additionally, Plaintiff attached a copy of th
 7   Agreement to his September 2014 email to two Board members and the CFO, in which h
 8   set forth his acceptance of an offer to modify his compensation structure for an allocatio
 9   of a portion of his salary to equity shares. The salary amount reflected in the email is th
10   monthly equivalent of the salary set forth in his written Agreement. This email was the
11   forwarded to Mendonca, Robert Shi, and Matulia in October 2014. Mendonca testified tha
12   she confirmed the increase with Shi and Plaintiff was paid accordingly.
13        Defendants did not compensate Plaintiff in accordance with the terms of hi
14   Agreement. Additionally, Defendants failed to provide any documentation that a portio
15   of Plaintiff's salary had, in fact, been allocated to equity shares. If Plaintiff has shares in th
16   company, he has seen no evidence of it and has no way of knowing how to exercise thos
17   options, their value, or that they even exist.
18        From November 2011 to July 2015, Plaintiff was underpaid in the amount o
19   $90,488.47. Defendants are hereby ordered to pay Plaintiff's underpaid wages in th
20   amount of $90,488.47.
21        Vacation Wages
22        Labor Code section 227.3 provides in relevant part:
23
           Unless otherwise provided by a collective bargaining agreement, whenever a
           contract of employment or employer policy provides for paid vacations, and
24         an employee is terminated without having taken off his vested vacation time,
25
           all vested vacation shall be paid to him as wages at his final rate in
           accordance with such contract of employment or employer policy respecting
26         eligibility or time served; provided, however, that an employment contract
27         or employment policy shall not provide for forfeiture of vested vacation time
           upon termination .. .

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          Plaintiff, as the party asserting the affirmative, has the burden of proof including th
 2   initial burden of going forward and the burden of persuasion by a preponderance of th
 3   evidence. Plaintiff has not met his burden with regard to his claim for unpaid vacation
 4   Plaintiff's employment agreement provided for three weeks, or 120 hours, of vacation pa
 5   per year. Plaintiff did not provide any basis for his claim that he did not use 64 hours o
 6   vacation during the years 2013 and 2014. Plaintiff did not account for the fact that he ha
 7   used far more than he accrued in 2015 and did not provide any testimony o
 a   documentation regarding how many hours he used in the prior years. Plaintiff was th
 9   President and CEO of the company during the majority of the period of his claim. It i
10   disingenuous for Plaintiff to argue that Defendants should have tracked his vacation hour
11   and their failure to have a more effective procedure to do so should entitle him to recove
12   on a claim for which he has set forth no factual basis. Accordingly, Plaintiff shall tak
13   nothing pursuant to his claim for unpaid vacation wages.
14        Expenses
15        Labor Code section 2802(a) provides:      "An employer shall indemnify his or he
16   employee for all necessary expenditures or losses incurred by the employee in direc
17   consequence of the discharge of his or her duties ... "      Plaintiff utilized Defendants'
1a   corporate credit cards to make purchases on Defendants' behalf. Additionally, Plaintif
19   had a personal credit card which he testified was used exclusively for business expenses
20   These cards were paid by Defendants without question during his employment. Afte
21   Plaintiff's resignation, Defendants stopped paying all the credit cards, leaving enormou
22   balances entirely unpaid. Because those cards and the line of credit were in Plaintiff'
23   name, the creditors held him liable and went after Plaintiff's personal finances to recove
24   the debt. Plaintiff was able to reduce the debt, which belonged to Defendants, fro
25   $88,000.00 to approximately $66,500.00, which saved the companies more than $21,500.00
26   As such, even if $17,818.75 of the charges were arguably personal in nature, which Plaintif
27   credibly and reasonably refuted as personal expenses, Plaintiff's claim does not includ

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     reimbursement for those allegedly personal charges. Even taking the full balance of th
 2   credit cards and line of credit and discounting it for the amount that Defendants allege t
 3   be personal charges, the balance is still more than Plaintiff is actually claiming he is owed.
 4        Additionally, Plaintiff made two deposits into Defendants' account to cover payrol
 5   in 2014, which were never reimbursed to him, for a total of $9,129.00. Defendants took th
 6   $6,200.00 deposit off its books and reclassified it as capital stock without Plaintiff'
 7   approval. However, this is not evidence that Defendant reimbursed such expenses.
 s        Defendants are hereby ordered to pay Plaintiff $75,629.00 as reimbursement fo
 9   business expenses.
10        Labor Code section 2802(b) provides: For purposes of this section, the ter
11   "necessary expenditures or losses" shall include all reasonable costs, including, but no
12   limited to, attorney's fees incurred by the employee enforcing the rights granted by thi
13   section." Plaintiff's attorney submitted a declaration attesting to the fact that Plaintiff ha
14   incurred attorney's fees in the amount of $33,433.00 as a result of his claims agains
15   Defendants. Plaintiff's attorney asserted that preparation of Plaintiff's expenses claim wa
16   the primary focus of his legal efforts in the case. As such, it is reasonable to find that 5
17   percent of the fees incurred were attributable to time spent pursuing Plaintiff's expense
1s   claim. Accordingly, Defendants are ordered to pay $16,716.50 in attorney's fees.
19        Interest

20        Labor Code sections 98.l(c) and 2802(b) provide that all awards granted pursuant t
21   this hearing shall accrue interest on all due and unpaid wages and expenses from the dat
22   that said amounts became due until the monies are paid. Therefore, Plaintiff is entitled t
23   $16,178.86 in interest accrued to date on the unpaid balance.
24        Penalties - Labor Code Section 203

25        Labor Code section 202 requires that if an employee quits without providing at leas
26   72 hours' notice, all earned wages are due within 72 hours of his resignation. Labor Cod
27   section 203 provides that if an employer willfully fails to pay any earned wages of a

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     employee in accordance with Labor Code section 202, the wages of such employee shal
 2   continue as a penalty from the due date thereof at the same rate until paid, up to 30 days
 3   The term "willful" as used in the statute has been defined by case law as an intentiona
 4   failure to perform an act that is required under the law. There is no requirement of evi
 5   purpose or intent to defraud. (Davis v. Morris (1940) 37 Cal.App.2d 269.) Defendant
 6   intended to pay Plaintiff the amounts that they paid. Defendants were aware of Plaintiff'
 7   contract setting forth a different amount, yet failed to pay it. Plaintiff's final paycheck wa
 8   not issued in the correct amount pursuant to his contract. Defendants did not even provid
 9   an explanation for the amount that he was paid in his final paycheck, which equates t
10   $100,000.00 per year. This amount is not even equivalent to the salary portion of th
11   equity/salary agreement that had previously been in effect prior to July 2015.
12        Because Defendants failed to set forth a good faith dispute to Plaintiff's wage claim
13   they are ordered to pay the maximum of 30 days' wages in the amount of $636.08 per day
14   for a total of $19,082.40.
15        Penalties - Labor Code Section 203.1

16        Labor Code section 203.1 provides that if an employer issues a check for wages whic
17   is refused payment because the employer does not have an account with the bank or ha
1a   insufficient funds in the account, and the employee has presented the check for paymen
19   within thirty days of receipt, those wages shall continue as a penalty from the due dat
20   thereof at the same rate until paid, up to a maximum of 30 days. Plaintiff's final paychec
21   was mailed to him via certified mail on July 18, 2015. Plaintiff did not pick it up from th
22   post office until July 24, 2015. The check was subsequently returned by his bank.
23        Labor Code section 203.1 provides that, "this penalty shall not apply if the employe
24   can establish to the satisfaction of the Labor Commissioner or an appropriate court of la
25   that the violation of this section was unintentional." Defendants argued that the reason th
26   check was not negotiable was not due to negligence or intentional wrongdoing on the par
27   of the company. Rather, in an effort to ensure that the bank accounts were secure afte

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     Plaintiff attempted to make a large unauthorized payment to his personal credit card
 2   Defendants took immediate action by freezing or closing their accounts. This activity too
 3   place in the interim period between the issuance of Plaintiff's paycheck and his attempt t
 4   deposit it in his bank. The wages were promptly replaced when Plaintiff notifie
 5   Defendants that the check had been returned.
 6        Defendants have sufficiently demonstrated that penalties pursuant to Labor Cod
 7   section 203.1 should not apply. Plaintiff shall take nothing pursuant to his claim fo
 s   penalties.
 9        Labor Code Section 226-Payroll Records
10        Labor Code section 226(a) provides the following:
11
           Every employer shall, semimonthly or at the time of each payment of wages,
           furnish each of his or her employees, .e ither as a detachable part of the check,
12         draft, or voucher paying the employee's wages, or separately when wages
13
           are paid by personal check or cash, an accurate itemized statement in writing
           showing
14         (1)    gross wages earned;
15
           (2)    total hours worked by the employee, except for any employee whose
           compensation is solely based on a salary and who is exempt from payment
16         of overtime under subdivision (a) of section 515 or any applicable order of
17
           the Industrial Welfare Commission;
           (3)    the number of piece rate units earned and any applicable piece rate if
18         the employee is paid on a piece-rate basis;
19         (4)    all deductions, provided that all deductions made on written orders of
           the employee may be aggregated and shown as one item;
20         (5)    net wages earned;
21         (6)    the inclusive dates of the period for which the employee is paid;
           (7)    the name of the employee and ... the last four digits of his or her social
22
           security number or an employee identification number other than a social
23         security number may be shown on the itemized statement;
           (8)    the name and address of the legal entity that is the employer; and
24
           (9)    all applicable hourly rates in effect during the pay period and the
25         corresponding number of hours worked at each hourly rate by the employee.
           Ill
26
           Ill
27


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            The deductions made from payments of wages shall be recorded in ink or
 2
            other indelible form, properly dated, showing the month, day, and year, and
 3          a copy of the statement or a record of the deductions shall be kept on file by
            the employer for at least three years at the place of employment or at a
 4
            central location within the State of California.
 5

 6          Labor Code section 226(f) entitles the current or former employee to recover fro
 7   the employer a penalty of $750.00 if the employer fails to permit the employee to inspect o
 8   copy the records referenced in section (a), within 21 calendar days of the date of hi
 g   written or oral request.

10          At the end of December, 2015, Plaintiff's attorney served Defendants an
11   Defendants' attorney with a letter requesting a copy of Plaintiff's payroll records
12   Defendants failed to provide Plaintiff with those records within 21 days. Accordingly
13   Defendants shall pay Plaintiff a penalty of $750.00 pursuant to Labor Code section 226(f).
14        Labor Code Section 1198.5-Personnel File

15        Labor Code section 1198.S(k) entitles a current or former employee to recover fro
16   the employer a penalty of $750.00 if the employer fails to permit the employee to inspect o
17   copy personnel records within 30 calendar days of his written request.
18          At the end of December, 2015, Plaintiff's attorney served Defendants
19   Defendants' attorney with a letter requesting a copy of Plaintiff's p ersonnel file
20   Defendants failed to provide Plaintiff with those records within 30 days. Accordingly
21   Defendants shall pay Plaintiff a penalty of $750.00 pursuant to Labor Code section 226(f).
22                                          CONCLUSION
23        Richard Matulia, an individual

24        Richard Matulia, an individual, is found to have no individual liability and, as such
25   Plaintiff shall take nothing pursuant to his claims against Mafo.lia.

26        / / /

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          Highmark Digital, Inc. and Grand Mark Solutions, Inc.
 2        For all of the reasons set forth above, IT IS HEREBY ORDERED that Defendant
 3   Highmark Digital, Inc., a California corporation, and Grand Mark Solutions, Inc.,
 4   California corporation, shall pay Plaintiff a total of $219,587.23, as follows:
 5        1. $90,488.47 for wages earned and unpaid;
 6        2. $75,629.00 for business expenses pursuant to Labor Code section 2802;
 7        3. $16,716.50 for attorney's fees pursuant to Labor Code section 2802(c);
 8        4. $16,178.86 in interest pursuant to Labor Code sections 98.l(c) and 2802(6);
 9        5. $19,082.40 in waiting time penalties pursuant to Labor Code section 203;
10        6. $750.00 in penalties pursuant to Labor Code section 226(f); and
11        7. $750.00 in penalties pursuant to Labor Code section 1198.S(k).
12

13   Dated:        Tune 6, 2016
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